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IN THE UNITED STATES DISTRICT COURT FOR T
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

UNITED STATES OF AMERICA

v. No. 1:22-CR-0122 (RDA)
JULIO R. SOTOMAYOR (a/k/a “JACE
SOTOMAYOR,” “J.R. SOTOMAYOR,”
“WIZARD”),

Defendant.

PLEA AGREEMENT

Jessica D. Aber, United States Attorney for the Eastern District of Virginia; Corey R.
Amundson, Chief, U.S. Department of Justice, Criminal Division, Public Integrity Section;
undersigned counsel for the government; the defendant, Julio R. Sotomayor; and the defendant’s
counsel have entered into an agreement pursuant to Rule 11 of the Federal Rules of Criminal
Procedure. The terms of the Plea Agreement are as follows:

1. Offense and Maximum Penalties

The defendant agrees to plead guilty to Count One of the Indictment, charging the
defendant with Conspiracy to Commit Bribery and Honest Services Wire Fraud, in violation of
18 U.S.C. § 371. The maximum penalties for this offense are: a maximum term of five years of
imprisonment, a fine of the greater of $250,000 or twice the gross gain or loss, full restitution,
forfeiture of assets, any special assessment pursuant to 18 U.S.C. § 3013, and three years of
supervised release. The defendant understands that any supervised release term is in addition to
any prison term the defendant may receive, and that a violation of a term of supervised release

could result in the defendant being returned to prison for the full term of supervised release.
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2. Factual Basis for the Plea
The defendant will plead guilty because the defendant is in fact guilty of the charged
offense. The defendant admits the facts set forth in the Statement of Facts filed with this Plea
Agreement and agrees that those facts establish guilt of the offense charged beyond a reasonable
doubt. The Statement of Facts, which is hereby incorporated into this Plea Agreement,
constitutes a stipulation of facts for purposes of Section 1B1.2(c) of the Sentencing Guidelines.
3. Assistance and Advice of Counsel
The defendant is satisfied that the defendant’s attorney has rendered effective assistance.
The defendant understands that by entering into this Plea Agreement, the defendant surrenders
certain rights as provided in this agreement. The defendant understands that the rights of
criminal defendants include the following:
a. the right to plead not guilty and to persist in that plea;
b. the right to a jury trial;

c. the right to be represented by counsel—and, if necessary, have the court
appoint counsel—at trial and at every other stage of the proceedings; and

d. the right at trial to confront and cross-examine adverse witnesses, to be
protected from compelled self-incrimination, to testify and present
evidence, and to compel the attendance of witnesses.

4. Sentencing Guidelines, Recommendations, and Roles

The defendant understands that the Court has jurisdiction and authority to impose any
sentence within the statutory maximum described above, but that the Court will determine the
defendant’s actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands
that the Court has not yet determined a sentence and that any estimate of the advisory sentencing

range under the U.S. Sentencing Commission’s Sentencing Guidelines Manual the defendant

may have received from the defendant’s counsel, the United States, or the Probation Office, is a
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prediction, not a promise, and is not binding on the United States, the Probation Office, or the
Court. Additionally, pursuant to the Supreme Court’s decision in United States v. Booker, 543
U.S. 220 (2005), the Court, after considering the factors set forth in 18 U.S.C. § 3553(a), may
impose a sentence above or below the advisory sentencing range, subject only to review by
higher courts for reasonableness. The United States makes no promise or representation
concerning what sentence the defendant will receive, and the defendant cannot withdraw a guilty
plea based upon the actual sentence.

Further, in accordance with Rule 1 1(c)(1)(B) of the Federal Rules of Criminal Procedure,
the United States and the defendant will recommend to the Court that the following provisions of

the Sentencing Guidelines apply:

Guideline(s) Description Offense Level
2C1.1(a)(2) Base offense level for non-public official 12
2C1.1(b)(1) The offense involved more than one bribe. +2

The value of the payment, the benefit received or to
be received in return for the payment, the value of
2C1.1(b)(2) and anything obtained or to be obtained by a public
2B1.1 official or others acting with a public official, or the
loss to the government from the offense, whichever
is greatest

+8

The United States and the defendant further agree not to recommend a fine.

The United States and the defendant further agree that the defendant has assisted the
government in the investigation and prosecution of the defendant’s own misconduct by timely
notifying authorities of the defendant’s intention to enter a plea of guilty, thereby permitting the
government to avoid preparing for trial and permitting the government and the Court to allocate
their resources efficiently. If the defendant qualifies for a two-level decrease in offense level
pursuant to U.S.S.G. § 3E1.1(a) and the offense level prior to the operation of that section is a

level 16 or greater, the government agrees to file, pursuant to U.S.S.G. § 3E1.1(b), a motion prior
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to, or at the time of, sentencing for an additional one-level decrease in the defendant’s offense
level.

The United States and the defendant have not agreed on any further sentencing issues,
including the applicability of U.S.S.G § 2C1.1(b)(3) (specific offense characteristic for offenses
involving public officials in a high-level decision-making or sensitive position), whether related
to the Sentencing Guidelines or the factors listed in 18 U.S.C. § 3553(a), other than those set
forth above or elsewhere in this Plea Agreement. Any stipulation on a Guidelines provision does
not limit the parties’ arguments as to any other Guidelines provisions or sentencing factors under
§ 3553(a), including arguments for a sentence within or outside the advisory Guidelines range
found by the Court at sentencing.

5. Waiver of Appeal, FOIA, and Privacy Act Rights

The defendant also understands that 18 U.S.C. § 3742 affords a defendant the right to
appeal the sentence imposed. Nonetheless, the defendant knowingly waives the right to appeal
the conviction and any sentence within the statutory maximum described above (or the manner in
which that sentence was determined) on the grounds set forth in 18 U.S.C. § 3742 or on any
ground whatsoever other than an ineffective assistance of counsel claim that is cognizable on
direct appeal, in exchange for the concessions made by the United States in this Plea Agreement.
This agreement does not affect the rights or obligations of the United States as set forth in 18
U.S.C. § 3742(b). The defendant also hereby waives all rights, whether asserted directly or by a
representative, to request or receive from any department or agency of the United States any

records pertaining to the investigation or prosecution of this case, including without limitation
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any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or the
Privacy Act, 5 U.S.C. § 552a.

6. Immunity from Further Prosecution in this District

The United States will not further criminally prosecute the defendant in the Eastern
District of Virginia for the specific conduct described in the Indictment or Statement of Facts.
This Plea Agreement and Statement of Facts does not confer on the defendant any immunity
from prosecution by any state government in the United States.

7. Dismissal of Other Counts

As a condition of the execution of this agreement and the Court’s acceptance of the
defendant’s plea of guilty, the United States will move to dismiss the remaining counts pending
against this defendant at the conclusion of this defendant’s sentencing hearing.

8. Defendant’s Cooperation

The defendant agrees to cooperate fully and truthfully with the United States, and provide
all information known to the defendant regarding any criminal activity as requested by the
government. In that regard:

a. The defendant agrees to testify truthfully and completely at any grand
juries, trials or other proceedings.

b. The defendant agrees to be reasonably available for debriefing and pre-
trial conferences as the United States may require.

Cc. The defendant agrees to provide all documents, records, writings, or
materials of any kind in the defendant’s possession or under the
defendant’s care, custody, or control relating directly or indirectly to all
areas of inquiry and investigation.

d. The defendant agrees that, at the request of the United States, the
defendant will voluntarily submit to polygraph examinations, and that the
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United States will choose the polygraph examiner and specify the
procedures for the examinations.

e. The defendant agrees that the Statement of Facts is limited to information
to support the plea. The defendant will provide more detailed facts
relating to this case during ensuing debriefings.

f. The defendant is hereby on notice that the defendant may not violate any
federal, state, or local criminal law while cooperating with the
government, and that the government will, in its discretion, consider any
such violation in evaluating whether to file a motion for a downward
departure or reduction of sentence.

g. Nothing in this agreement places any obligation on the government to seek
the defendant’s cooperation or assistance.

9. Use of Information Provided by the Defendant Under This Agreement

The United States will not use any truthful information provided pursuant to this
agreement in any criminal prosecution against the defendant in the Eastern District of Virginia,
except in any prosecution for a crime of violence or conspiracy to commit, or aiding and
abetting, a crime of violence (as defined in 18 U.S.C. § 16). Pursuant to U.S.S.G. § 1B1.8, no
truthful information that the defendant provides under this agreement will be used in determining
the applicable guideline range, except as provided in Section 1B1.8(b). Nothing in this
agreement, however, restricts the Court’s or Probation Officer’s access to information and
records in the possession of the United States. Furthermore, nothing in this agreement prevents
the government in any way from prosecuting the defendant should the defendant knowingly
provide false, untruthful, or perjurious information or testimony, or from using information

provided by the defendant in furtherance of any forfeiture action, whether criminal or civil,
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administrative or judicial. The United States will bring this agreement and the full extent of the
defendant’s cooperation to the attention of other prosecuting offices if requested.

10. Prosecution in Other Jurisdictions

The U.S. Attorney’s Office for the Eastern District of Virginia and the U.S. Department
of Justice, Criminal Division, Public Integrity Section will not contact any other state or federal
prosecuting jurisdiction and voluntarily turn over truthful information that the defendant
provides under this agreement to aid a prosecution of the defendant in that jurisdiction. Should
any other prosecuting jurisdiction attempt to use truthful information the defendant provides
pursuant to this agreement against the defendant, the U.S. Attorney’s Office for the Eastern
District of Virginia and the U.S. Department of Justice, Criminal Division, Public Integrity
Section agree, upon request, to contact that jurisdiction and ask that jurisdiction to abide by the
immunity provisions of this agreement. The parties understand that the prosecuting jurisdiction
retains the discretion over whether to use such information.

11. Defendant Must Provide Full, Complete, and Truthful Cooperation

This agreement is not conditioned upon charges being brought against any other
individual. This agreement is not conditioned upon any outcome in any pending investigation.
This agreement is not conditioned upon any result in any future prosecution that may occur
because of the defendant’s cooperation. This agreement is not conditioned upon any result in

any future grand jury presentation or trial involving charges resulting from this investigation.
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This agreement is conditioned upon the defendant providing full, complete, and truthful
cooperation.

12. Motion for a Downward Departure

The parties agree that the United States reserves the right to seek any departure from the
applicable sentencing guidelines, pursuant to Section 5K1.1 of the Sentencing Guidelines and
Policy Statements, or any reduction of sentence pursuant to Rule 35(b) of the Federal Rules of
Criminal Procedure, if, in its sole discretion, the United States determines that such a departure
or reduction of sentence is appropriate. In addition, the defendant understands that the Court—
not the United States—will decide what, if any, reduction in sentence is appropriate.
Furthermore, the proceeding established by the Plea Agreement section titled Breach of the Plea
Agreement and Remedies does not apply to the decision of the United States whether to file a
motion based on “substantial assistance” as that phrase is used in Rule 35(b) of the Federal Rules
of Criminal Procedure and Section 5K1.1 of the Sentencing Guidelines and Policy Statements.
As noted above, the defendant agrees that the decision whether to file such a motion rests in the
sole discretion of the United States. In addition, should the defendant violate the Plea
Agreement, as defined in Breach of the Plea Agreement and Remedies, or should the defendant
violate this Cooperation Agreement, the United States will be released from its obligations under
either agreement, including any obligation to seek a downward departure or a reduction in
sentence. The defendant, however, may not withdraw the guilty plea entered pursuant to the Plea
Agreement.

13. Payment of Monetary Penalties

The defendant understands and agrees that, pursuant to 18 U.S.C. § 3613 and 18 U.S.C.

§ 3572, all monetary penalties imposed by the Court, including restitution, will be due
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immediately and subject to immediate enforcement by the United States as provided for in
Section 3613. Within 14 days of a request, the defendant agrees to provide all of the defendant’s
financial information to the United States and the Probation Office and, if requested, to
participate in a pre-sentencing debtor’s examination and/or complete a financial statement under
penalty of perjury. If the Court imposes a schedule of payments, the defendant understands that
the schedule of payments is merely a minimum schedule of payments and not the only method,
nor a limitation on the methods, available to the United States to enforce the judgment. Until all
monetary penalties are paid in full, the defendant will be referred to the Treasury Offset Program
so that any federal payment or transfer of returned property to the defendant will be offset and
applied to pay the defendant’s unpaid monetary penalties. If the defendant is incarcerated, the
defendant agrees to participate voluntarily in the Bureau of Prisons’ Inmate Financial
Responsibility Program, regardless of whether the Court specifically directs participation or
imposes a schedule of payments. The defendant agrees to make good-faith efforts toward
payment of all monetary penalties imposed by the Court.

14. Special Assessment

Before sentencing in this case, the defendant agrees to pay a mandatory special
assessment of $100 per felony count of conviction, pursuant to 18 U.S.C. § 3013(a)(2)(A).

15. Restitution

The defendant agrees that restitution is mandatory pursuant to 18 U.S.C. § 3663A(c)(1),
and the defendant agrees to the entry of a Restitution Order for the full amount of the victims’
losses. Pursuant to 18 U.S.C. § 3663A(c)(2), the defendant further agrees that an offense listed
in Section 3663A(c)(1) gave rise to this Plea Agreement and, as such, victims of the conduct

described in the charging instrument, Statement of Facts, or any related or similar conduct shall
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be entitled to restitution. The parties agree that the following government agency has suffered
the losses identified below and is entitled to restitution: Broadcasting Board of Governors (now
known as the U.S. Agency for Global Media}—$405,000. The United States agrees that this
amount satisfies the defendant’s restitution obligation and will not recommend that any
additional amounts be paid as restitution.

The defendant understands that forfeiture and restitution are separate and distinct
financial obligations that must be imposed upon a criminal defendant. The defendant further
understands that restitution will be enforced pursuant to 18 U.S.C. § 3572, 18 U.S.C. § 3613, and
18 U.S.C. § 3664(m).

16. Forfeiture

The defendant understands that the forfeiture of assets is part of the sentence that must be
imposed in this case. This includes any property that is traceable to, derived from, fungible with,
or a substitute for property that constitutes the following: proceeds of the offense. The parties
agree that the assets subject to forfeiture is the following specific property: a forfeiture money
judgment in the amount of $200,000. The United States agrees that this amount satisfies the
defendant’s forfeiture obligation and will not recommend that any additional amounts be paid as
forfeiture.

The defendant understands that if the assets subject to forfeiture are not available to the
United States to be forfeited, the Court must enter a forfeiture money judgment in the amount of
the unavailable assets. United States v. Blackman, 746 F.3d 137 (4th Cir. 2014). The defendant
acknowledges that as a result of defendant’s acts or omissions, the actual proceeds the defendant
obtained as a result of the offense are not available and the defendant stipulates that one or more

of the factors listed at 21 U.S.C. § 853(p)(1) are present in this case.

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The defendant further agrees to waive all interest in the asset(s) in any administrative or
judicial forfeiture proceeding, whether criminal or civil, state or federal. The defendant agrees to
consent to the entry of orders of forfeiture for such property and waives the requirements of
Federal Rules of Criminal Procedure 32.2 and 43(a) regarding notice of the forfeiture in the
charging instrument, announcement of the forfeiture at sentencing, and incorporation of the
forfeiture in the judgment. Defendant admits and agrees that the conduct described in the
charging instrument and Statement of Facts provides a sufficient factual and statutory basis for
the forfeiture of the property sought by the government.

17. Waiver of Further Review of Forfeiture

The defendant further agrees to waive all constitutional and statutory challenges to
forfeiture in any manner (including direct appeal, habeas corpus, or any other means) to any
forfeiture carried out in accordance with this Plea Agreement on any grounds, including that the
forfeiture constitutes an excessive fine or punishment. The defendant also waives any failure by
the Court to advise the defendant of any applicable forfeiture at the time the guilty plea is
accepted as required by Rule 11(b)(1)(J). The defendant agrees to take all steps as requested by
the United States to pass clear title to forfeitable assets to the United States, and to testify
truthfully in any judicial forfeiture proceeding. The defendant understands and agrees that all
property covered by this agreement is subject to forfeiture as proceeds of illegal conduct, and
substitute assets for property otherwise subject to forfeiture.

18. The Defendant’s Obligations Regarding Assets and Financial Investigation

The defendant agrees to fully participate in the United States’ pre- and post-judgment
financial investigation. Such participation includes the identification of assets in which the

defendant has any legal or equitable interest to determine what assets may be available for

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payment to restitution, forfeiture, and/or any fine imposed in this case. The defendant agrees that
the defendant’s financial information is subject to investigation and disclosure pre-judgment to
the same extent as financial information will be subject to discovery after judgment is imposed.
The defendant understands that 31 U.S.C. § 3711(h)(1) permits the United States to obtain the
defendant’s credit report after sentencing and expressly authorizes the United States to obtain the
defendant’s credit report prior to sentencing in this case. The defendant understands that the
United States has sole discretion over whether it will obtain defendant’s credit report pursuant to
this Plea Agreement. If the United States determines that it will obtain defendant’s credit report
prior to sentencing pursuant to this Plea Agreement, the defendant authorizes the United States,
and the United States agrees, to provide a copy to defense counsel upon request. The defendant
understands that failure to participate in the financial investigation as described in this paragraph
may constitute the defendant’s failure to accept responsibility under U.S.S.G § 3E1.1.

Within 14 days of a request by the United States, or other deadline agreed upon by the
parties, the defendant agrees to provide all information about all of the defendant’s assets and
financial interests to the United States and the Probation Office and, if requested, submit to a
debtor’s examination, complete a financial disclosure statement under penalty of perjury, and/or
undergo any polygraph examination the United States may choose to administer concerning such
assets and financial interests. The defendant also agrees to provide or consent to the release of
the defendant’s tax returns for the previous five years. The defendant understands that assets and
financial interests subject to disclosure include assets owned or held directly or indirectly,
individually or jointly, in which the defendant has any legal interests, regardless of title,

including any interest held or owned under any other name, trusts, and/or business entities

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presently and since date of the first offense giving rise to this Plea Agreement, or giving rise to
the charges presently pending against the defendant, whichever is earlier.

The defendant shall identify all assets valued at more than $5,000 that have been
transferred to third parties since the date of the first offense giving rise to this Plea Agreement,
including the location of the assets and the identities of third parties to whom they were
transferred. The defendant agrees not to transfer any assets valued at more than $5,000 without
approval of the Asset Recovery Unit of the U.S. Attorney’s Office until the fine, forfeiture, and
restitution ordered by the Court at sentencing are paid in full or otherwise terminated by
operation of law. The defendant agrees to take all steps requested by the United States to obtain
from any other parties by any lawful means any records of assets contemplated by this paragraph
in which the defendant has or had an interest. This paragraph will no longer be in effect if the
fine, forfeiture, and restitution ordered by the Court are paid in full or otherwise terminated by
operation of law.

The United States will not use any truthful and complete information provided by the
defendant pursuant to this paragraph for additional criminal offenses against the defendant in the
Eastern District of Virginia, except in any prosecution for a crime of violence or conspiracy to
commit, or aiding and abetting, a crime of violence (as defined in 18 U.S.C. § 16). Pursuant to
U.S.S.G. § 1B 1.8, no truthful information that the defendant provides pursuant to defendant’s
obligations under this paragraph will be used in determining the applicable guideline range,
except as provided in Section 1B1.8(b). Nothing in this agreement, however, restricts the
Court’s or Probation Officer’s access to information and records in the possession of the United
States. Furthermore, nothing in this agreement prevents the United States in any way from

prosecuting the defendant should the defendant knowingly provide false, untruthful, or

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perjurious information or testimony, or from using information provided by the defendant in
furtherance of any forfeiture action or restitution enforcement action, whether criminal or civil,
administrative or judicial.

19. Breach of the Plea Agreement and Remedies

This Plea Agreement is effective when signed by the defendant, the defendant’s attorney,
and an attorney for the United States. The defendant agrees to entry of this Plea Agreement at
the date and time scheduled with the Court by the United States (in consultation with the
defendant’s attorney). If the defendant withdraws from this agreement, or commits or attempts
to commit any additional federal, state, or local crimes, or intentionally gives materially false,
incomplete, or misleading testimony or information, or otherwise violates any provision of this
agreement, then:

a. The United States will be released from its obligations under this
agreement. The defendant, however, may not withdraw the guilty plea
entered pursuant to this agreement.

b. The defendant will be subject to prosecution for any federal criminal
violation, including, but not limited to, perjury and obstruction of justice,
that is not time-barred by the applicable statute of limitations on the date
this agreement is signed. Notwithstanding the subsequent expiration of
the statute of limitations, in any such prosecution, the defendant agrees to
waive any statute-of-limitations defense.

c. Any prosecution, including the prosecution that is the subject of this
agreement, may be premised upon any information provided, or
statements made, by the defendant, and all such information, statements,
and leads derived therefrom may be used against the defendant. The
defendant waives any right to claim that statements made before or after
the date of this agreement, including the Statement of Facts accompanying
this agreement or adopted by the defendant and any other statements made
pursuant to this or any other agreement with the United States, should be
excluded or suppressed under Fed. R. Evid. 410, Fed. R. Crim. P. 11(f),

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the Sentencing Guidelines, or any other provision of the Constitution or
federal law.

Any alleged breach of this agreement by either party shall be determined by the Court in
an appropriate proceeding at which the defendant’s disclosures and documentary evidence shall
be admissible and at which the moving party shall be required to establish a breach of this Plea
Agreement by a preponderance of the evidence.

20. Nature of the Agreement and Modifications

This written agreement constitutes the complete plea agreement between the United
States, the defendant, and the defendant’s counsel. The defendant and the defendant’s attorney
acknowledge that no threats, promises, or representations have been made, nor agreements
reached, other than those set forth in writing in this Plea Agreement or any associated documents
filed with the Court, to cause the defendant to plead guilty. Any modification of this Plea
Agreement shall be valid only as set forth in writing in a supplemental or revised plea agreement
signed by all parties.

Jessica D. Aber
United States Attorney

Corey R. Amundson
Chief, Public Integrity Section
U.S. Department of Justice

py Chelle

Edward P. Sullivan

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Heidi B. Gesch

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Defendant’s Signature: I hereby agree that I have consulted with my attorney and fully
understand all rights with respect to the pending Indictment. Further, I fully understand all rights
with respect to 18 U.S.C. § 3553 and the provisions of the Sentencing Guidelines Manual that
may apply in my case. I have read this Plea Agreement and carefully reviewed every part of it
with my attorney. I understand this agreement and yoluntarily agree to it.

Date: 1246 zz

Defense Counsel Signature: I am counsel for the defendant in this case. I have fully
explained to the defendant the defendant’s rights with respect to the pending Indictment.
Further, I have reviewed 18 U.S.C. § 3553 and the Sentencing Guidelines Manual, and I have
fully explained to the defendant the provisions that may apply in this case. I have carefully
reviewed every part of this Plea Agreement with the defendant. To my knowledge, the
defendant’s decision to enter into this agreement is an informed and voluntary one.

Date: (2-6-2022 — (Qe ok
ohn J. > Esq.
Jonathan P. York, Esq.

Counsel for the Defendant

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